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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE



 IN THE MATTER OF THE SEARCH OF
 THE CELLULAR TELEPHONES                           Case No. 1:20-mj- 173-01-AJ
 ASSIGNED CALL NUMBERS
 (917) 755-5180 AND (720) 661-7672                 Filed Under Seal


                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Special Agent Adalberto Garcia, being first duly sworn, hereby depose and state as

follows:

             INTRODUCTION AND TASK FORCE OFFICER BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) for information about the

location of the cellular telephone assigned call number (917) 755-5180 (“the 5180 Phone”) with

no subscriber name or address, whose service provider is AT&T, a wireless telephone service

provider headquartered at 11760 U.S. Highway 1, North Palm Beach, FL, used by Edwin Salas

(“SALAS”) and the location of the cellular telephone assigned call number (720) 661-7672 (“the

7672 Phone”) subscribed to Jefferson County Human Service, 900 Jefferson County PY, Suite

230, Golden, CO, whose service provider is Verizon Wireless, a wireless telephone service

provider headquartered at 180 Washington Valley Rd., Bedminster, NJ, also used by SALAS

(together the “Target Cell Phones”). The Target Cell Phones are described herein and in

Attachment A-1 (5180 Phone) and A-2 (7672 Phone), and the location information to be seized

is described herein and in Attachment B-1 (5180 Phone), and B-2 (7672 Phone). As described

more fully in Attachment B-1 and B-2, this application requests data about the physical location
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of the Target Cell Phones including but not limited to E-911 Phase II data (or the specific

latitude and longitude or other precise location information) for a period of thirty (30) days.

       2.       I am a Special Agent with the Drug Enforcement Administration (“DEA”) and

have been so employed for approximately one year. I graduated from the DEA Special Agent

Academy in 2019. Prior to that, I was employed as a Police Officer with the Nashua, New

Hampshire Police Department for over ten years. For approximately four years, I was assigned to

the Detective Bureau. For two of those years, I was assigned to the Nashua Police Department

Drug Unit. While working in the drug unit, I was primarily assigned to the DEA High Intensity

Drug Trafficking Area Task Force in the Manchester District Office (“MDO”) where I was

deputized as a DEA Task Force Officer. Since becoming a Special Agent, with DEA, I have

been assigned to the DEA Cross Border Initiative (“CBI”) located in Massachusetts. In addition

to the DEA academy, I have attended narcotic and criminal investigation training classes put on

by the New Hampshire Police Standards and Training Council, the DEA, and the Nashua Police

Department. My duties and responsibilities include the investigation of federal crimes, including

violations of 21 U.S.C. § 841(a)(1).

       3.       I have received significant training in the field of narcotics enforcement and

investigations. Through my training and experience, I am familiar with the habits, methods,

routines, practices, and procedures commonly employed by persons engaged in the trafficking of

illegal drugs. Through my training, education, and experience, I have become familiar with the

manner in which drug distribution organizations conduct their illegal activities, including

purchasing, manufacturing, storing, and distributing narcotics, the laundering of illegal proceeds,

and the efforts of persons involved in such activity to avoid detection by law enforcement.



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       4.       I am familiar with the facts and circumstances of this investigation from my own

personal participation and from oral and written reports given to me by other DEA Agents, Task

Force Officers, and local police departments. Since this affidavit is being submitted for the

limited purpose of establishing that probable cause exists to support the issuance of a search

warrant, I have not included details about every aspect of the investigation. While this affidavit

contains all the material information I am aware of that is pertinent to the requested search

warrant, it does not set forth all of my knowledge about this matter.

       5.       Based on the facts set forth in this affidavit, I submit that there is probable cause

to believe, and I do believe, that violations of Title 21, United States Code, Sections 841(a)(1)

and 846 (conspiracy to distribute controlled substances) have been committed, are being

committed, and will be committed by SALAS and others known and unknown. I submit that

there is also probable cause to believe, and I do believe, that the location information described

in Attachment B-1 and B-2 will constitute evidence of these criminal violations and will lead to

the identification of individuals who are engaged in the commission of these offenses.

                                       PROBABLE CAUSE

       6.       This affidavit contains information provided by a confidential source, CS-1. CS-1

is a confidential source providing information to a DEA division outside of New England. CS-1

has no criminal convictions and has never provided information to work off pending drug charges.

Instead, CS-1 provides information to the DEA in exchange for money. CS-1 has worked for DEA

for a number of months and has provided reliable information that has been corroborated by other

investigations and has led to arrests and seizures.

       7.       According to CS-1, he/she is personal friends with Edwin Salas who talks to CS-1

about his drug trafficking business. CS-1 has never engaged in drug deals with SALAS but knows

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about his business through their conversations. CS-1 first told agents about SALAS in March 2020

at which time CS-1 said that SALAS was distributing heroin and fentanyl in Massachusetts, New

York, and New Jersey. CS-1 believed that SALAS resided in Boston but I believe he lives in

Nashua, New Hampshire. According to CS-1 at that time, SALAS used the 5180 Phone, the 7672

Phone, as well as a phone number with a New Hampshire area code, (603) 318-4627. CS-1

believed that SALAS had a source of supply for drugs who was a Mexican national and that

SALAS was expecting a shipment soon.

         8.       In August 2020, CS-1 told agents that SALAS recently told him/her that SALAS

had gone to Mexico to arrange a purchase of fentanyl, and returned with 20 kilograms of fentanyl.

SALAS asked CS-1 if CS-1 could help SALAS sell any of the fentanyl. SALAS requested $60,000

per kilogram. I confirmed with immigration authorities that SALAS entered the United States at

the San Diego border crossing from Mexico on August 30, 2020, consistent with CS-1’s

statements.

         9.       At the direction of law enforcement agents, CS-1 told SALAS that he/she had a

friend who wanted to buy some of the fentanyl. SALAS said that he would be happy to meet and/or

speak to CS-1’s friend but would only speak to him/her over WhatsApp. 1 SALAS provided CS-1

with the number for the 7672 Phone. Agents attempted to place calls to SALAS using both of the

Target Cell Phone numbers but SALAS would not answer, reiterating that he would only talk over

WhatsApp. Outside the presence of officers, CS-1 spoke to SALAS on WhatsApp over the




1
  I know, based on my training and experience, that WhatsApp is a text and voice messaging application that
features end-to-end encryption, meaning that the company cannot read or store messages sent over the platform.
This feature has made WhatsApp the preferred method of communication for drug traffickers or others engaging in
illicit activity because it is very difficult for law enforcement to intercept or recover any communications. It is also
difficult for agents to record conversations surreptitiously over WhatsApp and CS-1s conversations with SALAS
have therefore not been recorded.
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weekend of September 19-20 using the WhatsApp account associated with the 7672 number. In

that conversation SALAS confirmed that he still had both Target Cell Phone numbers but that he

would only talk over WhatsApp accounts associated with those numbers. He told CS-1 that he had

his kids at home with him so was only working (referring to his drug business) on the weekends.

Since it was a weekend, he also invited CS-1 to come meet him in New Hampshire, indicating that

he was willing to sell some of the kilograms that weekend.

       10.     I have received information about SALAS’s drug trafficking activities from another

source if information as well. SOI-1 has a conviction for disorderly conduct. In 2013, he/she

cooperated with the Nashua Police Department after being arrested on criminal charges unrelated

to drug trafficking. As a result of his successful cooperation at that time, his charges were

dismissed. In addition, at that time, he provided information to the DEA which resulted in a

substantial seizure of money and SOI-1 was paid as a result. SOI-1 is not actively cooperating but

in January 2020, he/she provided me with information about Edwin SALAS. According to SOI-1,

SALAS, who lives in Nashua, sells fentanyl and Percocent pills. SALAS has bragged about large

numbers of Percocet pills he receives from Mexico and showed SOI-1 photos of large quantities

of pills. According to SOI-1, SALAS employs a runner who also lives in Nashua. SOI-1 provided

me with the same 603 telephone number for SALAS that CS-1 provided to the other agents. SOI-

1 did not, however, provide me either of the Target Cell Phone numbers.

       11.     The Nashua Police Department have confirmed that SALAS lives in Nashua. On

September 8, 2020, they received a request for a welfare check from the mother of SALAS’s

children and were able to confirm that SALAS’s children are living with him, consistent with what

SALAS told CS-1.



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       12.      I have reviewed toll records for both of the Target Cell Phone numbers. I have

confirmed that both are operational and in service but that very few calls go in and out over either

number. This is consistent with SALAS’s statements that he only communicates over WhatsApp

accounts associated with both phone numbers. I know, however, that even if SALAS is not using

the phones to make voice calls, as long as he has service from Verizon and AT&T (which he does),

and has the phones turned on, I should be able to receive location data from the telephones.

       13.      I know that it is common for drug traffickers to use multiple cellular phones and to

switch back and forth between phones over time to attempt to avoid law enforcement detection. I

also know that they sometimes compartmentalize phones, using different phones for different parts

of their drug business (or keeping a “personal” or “clean” phone and a “business” or “dirty”

phone). I know that drug traffickers may only take one of these phones with them at any time,

depending on whether they are engaging in drug-related activity. Therefore, I believe that receiving

the location information from both of these phones is necessary to get a complete picture of

SALAS’s movements and activities.

                                     The Requested Warrants

       14.      I believe that location information obtained from the Target Cell Phones, when used

in conjunction with other information obtained from cooperating individuals, and surveillance,

may assist the United States in conducting surveillance of SALAS, locating the 20 kilograms of

fentanyl or other drugs, identifying runners and other co-conspirators, and helping to identify other

locations where they may sell drugs, operate a base of operations, and store drugs and drug

proceeds.

       15.      In my training and experience, I have learned that ATT & Verizon are companies

that provide cellular telephone access to the general public. I also know that providers of cellular

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telephone service have technical capabilities that allow them to collect and generate at least two

kinds of information about the locations of the cellular telephones to which they provide service:

(1) E-911 Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data,

also known as “tower/face information” or cell tower/sector records. E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via GPS tracking

technology built into the phone or by triangulating on the device’s signal using data from several

of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna towers

covering specific geographic areas) that received a radio signal from the cellular telephone and, in

some cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers

are often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call

made to or from that device. Accordingly, cell-site data is typically less precise than E-911 Phase

II data.

           16.   Based on my training and experience, I know that AT&T and Verizon can collect

E-911 Phase II data about the location of the Target Cell Phones, including by initiating a signal

to determine the location of the Target Cell Phones on AT&T or Verizon’s networks or with such

other reference points as may be reasonably available.

           17.   Based on my training and experience, I know that AT&T and Verizon can collect

cell-site data about the Target Cell Phones.

                                 AUTHORIZATION REQUEST

           18.   Based on the foregoing, I request that the Court issue the proposed search warrants,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).



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       19.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrants to delay notice until

30 days after the collection authorized by the warrants has been completed. There is reasonable

cause to believe that providing immediate notification of the warrants may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice to the user of the Target Cell Phones

would seriously jeopardize the ongoing investigation, as such a disclosure would give these people

an opportunity to destroy evidence, change patterns of behavior, notify confederates, and flee from

prosecution. See 18 U.S.C. § 3103a(b)(1). As further specified in Attachment B-1 and B-2, which

are incorporated into the warrants, the proposed search warrants do not authorize the seizure of

any tangible property. See 18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrants

authorize the seizure of any wire or electronic communication (as defined in 18 U.S.C. § 2510) or

any stored wire or electronic information, there is reasonable necessity for the seizure for the

reasons set forth above. See 18 U.S.C. § 3103a(b)(2).

       20.     I further request that the Court direct AT&T and Verizon to disclose to the

government any information described in Attachment B-1 and B-2 that is within the possession,

custody, or control of AT&T and Verizon. I also request that the Court direct AT&T and Verizon

to furnish the government all information, facilities, and technical assistance necessary to

accomplish the collection of the information described in Attachment B-1 and B-2 unobtrusively

and with a minimum of interference with AT&T or Verizon’s services, including by initiating a

signal to determine the location of the Target Cell Phones on AT&T or Verizon’s networks or with

such other reference points as may be reasonably available, and at such intervals and times directed

by the government. The government shall reasonably compensate AT&T and Verizon for

reasonable expenses incurred in furnishing such facilities or assistance.

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       21.     I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the Target Cell Phones outside of daytime hours.

I declare that the foregoing is true and correct.



       Dated: September 23, 2020               /s/ Adalberto Garcia
                                               Adalberto Garcia
                                               Task Force Officer
                                               U.S. Drug Enforcement Administration



The affiant appeared before me by telephonic conference on this date pursuant to Fed. R. Crim.
P. 4.1 and affirmed under oath the content of this affidavit and application.


_______________________________
Hon. Andrea K. Johnstone
United States Magistrate Judge
District of New Hampshire
Dated: September 23, 2020




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                                 ATTACHMENT A-1


                               Property to Be Searched


1. The cellular telephone assigned call number (917) 755-5180 (“the 5180 Phone”) with no

   subscriber name or address, whose service provider is AT&T, a wireless telephone

   service provider headquartered at 11760 U.S. Highway 1, North Palm Beach, FL, used by

   Edwin Salas (“SALAS”)


2. Information about the location of the 5180 Phone that is within the possession, custody,

   or control of AT&T including information about the location of the cellular telephone if it

   is subsequently assigned a different call number.




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                                      ATTACHMENT B-1


                                 Particular Things to be Seized


       All information about the location of the 5180 Phone described in Attachment A-1 for a

period of thirty days, during all times of day and night. “Information about the location of the

5180 Phone” includes all available E-911 Phase II data, GPS data, latitude-longitude data, and

other precise location information, as well as all data about which “cell towers” (i.e., antenna

towers covering specific geographic areas) and “sectors” (i.e., faces of the towers) received a

radio signal from the cellular telephone described in Attachment A-1.

       To the extent that the information described in the previous paragraph (hereinafter,

“Location Information”) is within the possession, custody, or control of AT&T, AT&T is

required to disclose the Location Information to the government. In addition, AT&T must

furnish the government all information, facilities, and technical assistance necessary to

accomplish the collection of the Location Information unobtrusively and with a minimum of

interference with AT&T’s services, including by initiating a signal to determine the location of

the 5111 Phone on AT&T’s network or with such other reference points as may be reasonably

available, and at such intervals and times directed by the government. The government shall

compensate AT&T for reasonable expenses incurred in furnishing such facilities or assistance.

       This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18

U.S.C. § 3103a(b)(2).




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